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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION

In Re IPR2018-01283, IPR2018-01452                 )
                                                   )
APPLE, INC.,                                       )
     Petitioner,                                   )
                                                   )
v.                                                 )   MC No. 1:19-mc-_________
                                                   )
                                                   )
QUALCOMM, INC.,                                    )
    Patent Owner.                                  )


             APPLE, INC.’S APPLICATION FOR ISSUANCE OF SUBPOENA
                            PURSUANT TO 35 U.S.C. § 24

       Petitioner Apple, Inc. (“Petitioner”), by and through the undersigned attorneys, hereby

applies to the Clerk of this Court to issue a subpoena for Analog Device Inc. to provide

documents and appear for an oral deposition within this judicial district, in connection with the

Inter Partes Review Nos. IPR2018-01283 and IPR2018-01452, Apple, Inc. v. Qualcomm, Inc.,

currently pending before the United States Patent and Trademark Office (“USPTO”)’s Patent

Trial and Appeal Board (“PTAB”).

       This application is made pursuant to 35 U.S.C. § 24, which states that “[t]he clerk of any

United States court for the district wherein testimony is to be taken for use in any contested case

in the Patent and Trademark Office, shall, upon the application of any party thereto, issue a

subpoena for any witness residing or being within such district, commanding him to appear and

testify before an officer in such district authorized to take depositions and affidavits, at the time

and place stated in the subpoena.”

       Each of the Inter Partes Review proceeding Nos. IPR2018-01283 and IPR2018-01452

(“the 1283” and “the 1452” cases, respectively) currently pending before the PTAB is a
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“contested case” under 35 U.S.C. § 24. See Abbott Labs. v. Cordis Corp., 710 F.3d 1318, 1322-

23, 1326 (Fed. Circ. 2013); Office Patent Trial Practice Guide, 77 Fed. Reg. 48,756, 48,761

(Aug. 14, 2012) (“A party can request authorization to compel testimony under 35 U.S.C. 24.”);

37 C.F.R § 42.52-.53 (2015). In the 1283 and 1452 cases, Petitioner challenges the patentability

of a patent owned by Qualcomm, Inc. through the inter partes review procedure. Jepsen Decl. at

¶ 4, Ex. B at 1-2.

       As part of the 1283 and 1452 cases, the parties dispute whether a certain document,

“Practical Design Techniques for Power and Thermal Management,” edited by Walt Kester,

Analog Devices, 1998, ISBN-0-916550-19-2 (hereafter “the Kester book”), is prior art with

respect to U.S. Patent No. 7,834,591. Jepsen Decl. ¶¶ 1, 4, Ex. B at 2. The Kester Book was

published by Analog Devices, Inc. Jepsen Decl. at ¶ 3.

       Upon a motion, the PTAB authorized Petitioner to obtain a subpoena pursuant to 35

U.S.C. § 24 in order to secure documents and testimony establishing the prior art status of the

Kester book. Jepsen Decl. at ¶ 4, Ex. B at 2-3. On information and belief, Analog Devices is

located within the District of Massachusetts. Jepsen Decl. at ¶ 7, Ex. C at 1.

       Based on the foregoing, Petitioner respectfully requests that the Clerk of this Court issue

the subpoena for production of documents by and a deposition of a representative of Analog

Devices, Inc. within the District of Massachusetts, which is attached hereto as Exhibit A to the

Declaration of Nicholas Jepsen.
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                                     Respectfully submitted,

                                     FISH & RICHARDSON P.C.

Dated: May 28, 2018                   By: Ethan J. Rubin

                                     Ethan Rubin (BBO #696375)
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                                     Counsel for Apple, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2019, a copy of the foregoing Petitioner Apple, Inc.’s

Application for Issuance of Subpoena Pursuant to 35 U.S.C. § 24, Declaration of Nicholas

Jepsen in Support of Petitioner Apple, Inc.’s Application for Issuance of Subpoena Pursuant to

35 U.S.C. § 24, and attached exhibits was filed electronically.

       I further certify that on May 28, 2019, a copy of the foregoing Petitioner Apple, Inc.’s

Application for Issuance of Subpoena Pursuant to 35 U.S.C. § 24, Declaration of Nicholas

Jepsen in Support of Petitioner Apple, Inc.’s Application for Issuance of Subpoena Pursuant to

35 U.S.C. § 24, and attached exhibits was sent by email and mailed by first-class U.S. Mail,

postage prepaid, and properly addressed to the following attorneys representing Qualcomm, Inc.

in case nos. IPR2018-01283 and IPR2018-01452 (PTAB):


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